                                                                                            DISTRICT OF OREGON
                                                                                                 FILED
                                                                                                 June 21, 2021
                                                                                         Clerk, U.S. Bankruptcy Court



            Below is an order of the court.




                                                                        _______________________________________
                                                                                  PETER C. McKITTRICK
                                                                                  U.S. Bankruptcy Judge




                                     UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF OREGON
In re                                                  )
THREE J'S DISTRIBUTING, INC.                           )           18-32288-pcm7
                                                           Case No._______________
                                                       )
                                                       )   ORDER ALLOWING PROFESSIONAL
                                                       )   COMPENSATION & EXPENSES; AND
Debtor(s)                                              )   DIRECTING DISTRIBUTION OF ASSETS

         The trustee's final report having either come on for hearing, or the creditors having waived their opportunity
for a hearing after due notice, or the net proceeds realized were insufficient to require a final notice; now therefore,

         IT IS ORDERED that the following court costs, and professional compensation and expenses, are
specifically allowed by the court:
COURT COSTS:                                                                                   $_________________
                                                                                                              0.00
Rodolfo A. Camacho, Trustee Compensation                                                                    $65,060.04
Rodolfo A. Camacho, Trustee Expenses                                                                          $100.30
Lane Powell, PC, Attorney for Trustee compensation                                                           $2,995.00
Bennington & Moshofsky, PC, Accountant for Trustee compensation                                             $23,993.00
Bennington & Moshofsky, PC, Accountant for Trustee expenses                                                   $238.15




        IT IS FURTHER ORDERED that the trustee pay the claims allowed against the estate, pursuant to 11
U.S.C. §726, from the balance of estate assets.

740.3 (3/1/16)                                             ###



                              Case 18-32288-pcm7            Doc 175     Filed 06/21/21
